               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:12-cv-00062-MR
            [CRIMINAL CASE NO. 1:05-cr-00023-MR-DLH-3]


ROBERT LUTHER DOVER,             )
                                 )
              Petitioner,        )
                                 )              MEMORANDUM OF
         vs.                     )              DECISION AND ORDER
                                 )
UNITED STATES OF AMERICA,        )
                                 )
              Respondent.        )
________________________________ )

       THIS MATTER is before the Court on Petitioner’s Motion under 28,

United States Code, Section 2255 to Vacate, Set Aside, or Correct

Sentence by a Person in Federal Custody [Doc. 1]. For the reasons that

follow, the Court finds that the petition must be dismissed as untimely.

I.     PROCEDURAL HISTORY

       On April 26, 2005, Petitioner pled guilty pursuant to a written plea

agreement to conspiring to distribute and possessing with the intent to

distribute methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and

846.    [Criminal Case No. 1:05-cr-00023-MR-DLH-3, Doc. 81: Entry and

Acceptance of Guilty Plea]. In the plea agreement, Petitioner stipulated

that the amount of methamphetamine that was known to or reasonably



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foreseeable by him was at least 35 grams but less than 50 grams. [Id.,

Doc. 71 at 2: Plea Agreement]. As part of the plea agreement, Petitioner

agreed to waive his right to appeal or challenge in a post-conviction motion

his conviction or sentence, except on the bases of ineffective assistance of

counsel or prosecutorial misconduct. [Id., Doc. 71 at 5].

     In preparation for Petitioner’s sentencing hearing, the probation

officer prepared a presentence investigation report (“PSR”), calculating a

total offense level of 32, which included a three-level enhancement for

possession of a dangerous weapon under U.S.S.G. § 2D1.1(b)(1), a three-

level enhancement for creating a substantial risk of harm to both human life

and/or the environment under U.S.S.G. § 2D1.1(b)(6)(B), and a three-level

acceptance of responsibility reduction under U.S.S.G. § 3E1.1(a) and (b).

With an offense level of 32 and a criminal history category of II, the

probation officer recommended an advisory sentencing Guidelines range

between 135 and 168 months.         [Id., Doc. 410 at 7-8; 16: PSR].        The

probation officer noted that Petitioner faced a mandatory minimum term of

five years under 21 U.S.C. § 841(b)(1)(B). [Id.].

     On February 9, 2006, this Court sentenced Petitioner to 135 months’

imprisonment, the low end of the Guidelines range.               [Id., Doc. 219:




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Judgment]. Judgment was entered on February 24, 2006, and Petitioner

did not appeal. [Id., Doc. 219: Judgment].

        Petitioner placed the instant petition in the prison mailing system on

March 26, 2012, and it was stamp-filed in this Court on March 30, 2012.

[Doc. 1]. In the § 2255 petition, Petitioner contends that he is entitled to

relief under the Fourth Circuit’s en banc decision in United v. Simmons, 649

F.3d 237 (4th Cir. 2011). Petitioner contends that, under Simmons, he

should not have received two criminal history points for his 1994 and 2003

convictions because these two convictions did not carry a sentence of more

than one year. Petitioner also contends that he should not have received a

two offense level enhancement at sentencing based on possession of a

dangerous weapon.

II.     STANDARD OF REVIEW

        Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, the Court finds that

no response is necessary from the United States. Further, the Court finds




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that this matter can be resolved without an evidentiary hearing.              See

Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

III.     DISCUSSION

         On April 24, 1996, Congress enacted the Antiterrorism and Effective

Death Penalty Act (the “AEDPA”).             Among other things, the AEDPA

amended 28 U.S.C. § 2255 to include a one-year statute of limitations

period for the filing of a motion to vacate. The limitation period runs from

the latest of:

               (1) the date on which the judgment of conviction
               becomes final;

               (2) the date on which the impediment to making a
               motion created by governmental action in violation
               of the Constitution or laws of the United States is
               removed, if the movant was prevented from making
               a motion by such governmental action;

               (3) the date on which the right asserted was initially
               recognized by the Supreme Court, if that right has
               been newly recognized by the Supreme Court and
               made retroactively applicable to cases on collateral
               review; or

               (4) the date on which the facts supporting the claim
               or claims presented could have been discovered
               through the exercise of due diligence.

28 U.S.C. § 2255(f)(1)-(4).

         As noted, judgment was entered on February 24, 2006, and

Petitioner did not appeal. Petitioner’s conviction, therefore, became final
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ten days later on March 8, 2006, when his time to appeal expired. See

United States v. Clay, 537 U.S. 522, 524-25 (2003) (when a defendant

does not appeal, his conviction becomes final when the opportunity to

appeal expires); Fed. R. App. P. 4(b)(1)(A) (effective until December 9,

2009) (requiring defendant to file an appeal within ten days of entry of

judgment). Petitioner then had until March 8, 2007, to file a timely petition.

Petitioner placed the instant § 2255 petition in the prison mailing system on

March 26, 2012, and it was stamp-filed in this Court on March 30, 2012.

Because Petitioner did not file the instant § 2255 petition within a year of

when his conviction became final, his petition is subject to dismissal as

untimely under Section 2255(f)(1), and none of the other time periods set

forth under Section 2255(f) applies.1

       Petitioner contends, alternatively, that this Court should apply

equitable tolling.2    To be entitled to equitable tolling, Petitioner must show


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   In an affidavit attached to his petition, Petitioner appears to contend that his petition
should be deemed timely under 28 U.S.C. § 2255(f)(3) because it was filed within one
year of Carachuri-Rosendo v. Holder, 130 S. Ct. 2577 (2010). See [Doc. 1 at 16]. This
timeliness argument has been foreclosed by the decision of the Fourth Circuit Court of
Appeals in Powell v. United States, 691 F.3d 554 (4th Cir. 2012). The Government
often waives the statute of limitations with regard to section 2255 claims made pursuant
to Simmons. As addressed infra, however, Petitioner’s claim does not raise any issue
to which Simmons would apply, so no waiver of the statute of limitations has been
offered in this case.
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  Petitioner brings, as “Ground Three” in the petition, a claim for “Equitable Tolling
Based on Houston v. Lack.” [Doc. 1 at 15].

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(1) that he has diligently pursued his rights and (2) that some extraordinary

circumstance prevented the timely filing. United States v. Oriakhi, 394 F.

App’x 976, 977 (4th Cir. 2010).            Petitioner has not shown that he was

diligent in filing his § 2255 motion or that some extraordinary circumstance

prevented the timely filing of his petition.             Thus, he is not entitled to

equitable tolling, and the petition will be dismissed as untimely.3

       The Court further observes that, even if this Court were to apply

equitable tolling, Petitioner would still not be entitled to relief on his two

claims. Petitioner challenges the calculation of both his Criminal History

Category and his Total Offense Level. First, he asserts that no criminal

history points should have been assessed because neither of the

convictions at issue were felonies under Simmons. For a conviction to

count toward criminal history, however, it does not need to be a felony.

Neither conviction was counted as having carried a sentence in excess of

one year.       Simmons is completely inapplicable to the calculation of

Petitioner’s Criminal History Category.


3
   The Court finds that, based on Petitioner’s discussion of timeliness in his petition, the
rule articulated in Hill v. Braxton, 277 F.3d 701(4th Cir. 2002), has been satisfied. In Hill
v. Braxton, the Fourth Circuit found that district courts are required to advise a pro se
petitioner that his habeas motion or petition is subject to dismissal as time-barred under
the AEDPA, and to give petitioner an opportunity to explain his delay before entering a
sua sponte dismissal of the case. Id. at 706. In any event, because the petition is
subject to dismissal on the merits and due to Petitioner’s plea waiver, allowing Petitioner
to submit further argument on the timeliness issue would be a fruitless endeavor.
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      Petitioner also contends that he should not have received a two

offense level increase pursuant to U.S.S.G. § 2D1.1(b)(1) based on

possession of a dangerous weapon. Petitioner notes in the petition that

counsel objected to the enhancement, and Petitioner contends that “[w]hile

counsel clearly offers no additional support for the objection, the Court is

under its duty to ensure that its ‘findings of fact and conclusions of law’ are

predicated upon facts supporting statutory provisions. . . .” [Doc. 1 at 14].

To the extent that Petitioner contends that this Court erred in finding at

sentencing that Petitioner possessed a dangerous weapon, a claim relating

to an error in the application of the sentencing guidelines is not cognizable

under § 2255.4 United States v. Pregent, 190 F.3d 279, 283-84 (4th Cir.

1999) (“Barring extraordinary circumstances, however, an error in the

application of the Sentencing Guidelines cannot be raised in a § 2255

proceeding.”).

      In addition to the fact that the § 2555 petition is time-barred and

without merit, Petitioner’s claims are subject to dismissal because he

waived his right in his plea agreement to bring such claims. See [Criminal

Case No. 1:05-cr-23, Doc. 71 at 5: Plea Agreement]. Such a waiver is


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      Petitioner has not designated his claim related to the dangerous weapon
enhancement as a claim for ineffective assistance of counsel, but any such claim would
fail, as Petitioner concedes that counsel objected to the enhancement.
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enforceable as long as the defendant waives this right knowingly and

voluntarily. See United States v. Lemaster, 403 F.3d 216, 220 (4th Cir.

2005) (“A criminal defendant may waive his right to attack his conviction

and sentence collaterally, so long as the waiver is knowing and voluntary.”);

see also United States v. Copeland, 707 F.3d 522, 529-30 (4th Cir. 2013)

(dismissing appeal of defendant challenging sentencing enhancement in

light of Simmons because defendant waived his right to appeal his

sentence in his plea agreement); United States v. Snead, No. 11-5100,

2012 WL 541755 (4th Cir. Nov. 7, 2012) (unpublished) (same).

      Here, Petitioner does not allege in his motion that his plea was either

unknowing or involuntary, nor could he, as the Rule 11 colloquy establishes

that he pled guilty understanding the charge to which he was pleading

guilty as well as the consequences of his plea, including his waiver of his

right to challenge his sentence in a post-conviction proceeding.           [See

Criminal Case No. 1:05-cr-23, Doc. 81: Entry and Acceptance of Guilty

Plea]. His petition does not present either a claim of ineffective assistance

of counsel or a claim of prosecutorial misconduct. Accordingly, neither of

the exceptions to his waiver applies, and his motion to vacate would be

subject to dismissal even if it were not time-barred.




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IV.     CONCLUSION

        For the reasons stated herein, the Court will dismiss the § 2255

petition as untimely.

        The Court finds that the Petitioner has not made a substantial

showing of a denial of a constitutional right. See generally 28 U.S.C. §

2253(c)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a “petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong”) (citing Slack v. McDaniel, 529 U.S. 473, 484-85

(2000)).    Petitioner has failed to demonstrate both that this Court’s

dispositive procedural rulings are debatable, and that his Motion to Vacate

states a debatable claim of the denial of a constitutional right. Slack v.

McDaniel, 529 U.S. 473, 484-85 (2000). As a result, the Court declines to

issue a certificate of appealability.       See Rule 11(a), Rules Governing

Section 2255 Proceedings for the United States District Courts, 28 U.S.C. §

2255.



                                 ORDER

        IT IS, THEREFORE, ORDERED that Petitioner’s § 2255 motion to

vacate [Doc. 1] is DISMISSED WITH PREJUDICE as untimely.

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      IT IS FURTHER ORDERED that The Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.         Signed: May 20, 2014




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